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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 20134
         Donald L Thomas
         Victoria L Thomas
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 05/29/2014.

         2) The plan was confirmed on 08/26/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 04/07/2015.

         6) Number of months from filing to last payment: 10.

         7) Number of months case was pending: 15.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor              $1,690.37
           Less amount refunded to debtor                          $276.92

 NET RECEIPTS:                                                                                    $1,413.45


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $683.57
     Court Costs                                                              $0.00
     Trustee Expenses & Compensation                                         $49.88
     Other                                                                    $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $733.45

 Attorney fees paid and disclosed by debtor:                   $500.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim          Claim       Principal      Int.
 Name                                  Class   Scheduled      Asserted       Allowed        Paid         Paid
 Advocate Christ Medical Center    Unsecured     12,420.00            NA            NA            0.00       0.00
 Advocate Home Care Products       Unsecured         417.00           NA            NA            0.00       0.00
 Advocate Home Care Products       Unsecured          67.00           NA            NA            0.00       0.00
 Advocate Medical Group, SC        Unsecured          67.00           NA            NA            0.00       0.00
 American InfoSource LP as Agent   Unsecured      1,000.00         972.00        972.00           0.00       0.00
 Amerimark                         Unsecured            NA         506.31        506.31           0.00       0.00
 Armor Systems Corporation         Unsecured           0.00      5,025.38      5,025.38           0.00       0.00
 Armor Systems Corporation         Unsecured          25.00           NA            NA            0.00       0.00
 Armor Systems Corporation         Unsecured         233.00        123.93        123.93           0.00       0.00
 Ashro                             Unsecured      1,000.00            NA            NA            0.00       0.00
 Ashro Lifestyle                   Unsecured         500.00        676.60        676.60           0.00       0.00
 AT&T Mobility II LLC              Unsecured         253.00        252.19        252.19           0.00       0.00
 ATG Credit                        Unsecured         119.00           NA            NA            0.00       0.00
 ATG Credit                        Unsecured          50.00           NA            NA            0.00       0.00
 Choice Recovery                   Unsecured         253.00           NA            NA            0.00       0.00
 Comcast                           Unsecured         396.00           NA            NA            0.00       0.00
 Cook County Treasurer             Secured             0.00           NA            NA            0.00       0.00
 Credit Control, LLC               Unsecured         535.00           NA            NA            0.00       0.00
 Creditors Discount & Audit Co     Unsecured           0.00      1,100.43      1,100.43           0.00       0.00
 Direct Buy Remodelers, Inc.       Unsecured         433.00           NA            NA            0.00       0.00
 Discover Bank                     Unsecured      3,100.00       3,099.66      3,099.66           0.00       0.00
 Escallate LLC                     Unsecured          67.00           NA            NA            0.00       0.00
 Ford Motor Credit Company LLC     Unsecured      9,434.00     10,643.47      10,643.47           0.00       0.00
 LCMH Hospitalist Group            Unsecured         193.00           NA            NA            0.00       0.00
 Little Company of Mary Hosp.      Unsecured      1,500.00            NA            NA            0.00       0.00
 Lou Harris                        Unsecured          61.00           NA            NA            0.00       0.00
 Mason                             Unsecured         183.00        101.94        101.94           0.00       0.00
 Massey's                          Unsecured          92.00        195.55        195.55           0.00       0.00
 MBB                               Unsecured         550.00           NA            NA            0.00       0.00
 Mercy Hospital & Medical Ctr.     Unsecured      9,000.00            NA            NA            0.00       0.00
 Mercy Hospital & Medical Ctr.     Unsecured          98.00           NA            NA            0.00       0.00



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 Scheduled Creditors:
 Creditor                                        Claim         Claim         Claim        Principal       Int.
 Name                                  Class   Scheduled      Asserted      Allowed         Paid          Paid
 Mercy Physician Billing           Unsecured          98.00           NA           NA             0.00        0.00
 Midland Orthopedic Associates     Unsecured         159.00           NA           NA             0.00        0.00
 Monroe & Main                     Unsecured         500.00        252.71       252.71            0.00        0.00
 Northwest Collectors              Unsecured      1,125.00            NA           NA             0.00        0.00
 Portfolio Recovery Associates     Unsecured      1,978.00         848.67       848.67            0.00        0.00
 Premier Bankcard                  Unsecured         861.00        861.29       861.29            0.00        0.00
 Quantum3 Group                    Unsecured         939.00        939.03       939.03            0.00        0.00
 Quantum3 Group                    Unsecured      1,334.00       1,334.29     1,334.29            0.00        0.00
 Quantum3 Group                    Unsecured      1,793.00       1,793.25     1,793.25            0.00        0.00
 Quantum3 Group                    Unsecured         440.00        440.04       440.04            0.00        0.00
 Quantum3 Group                    Unsecured         857.00        857.18       857.18            0.00        0.00
 Ridgeland Foot Clinic             Unsecured          72.00           NA           NA             0.00        0.00
 Sears/CBNA                        Unsecured         987.00           NA           NA             0.00        0.00
 Senex Services Corp               Unsecured         355.00        928.59       928.59            0.00        0.00
 Senex Services CORP               Unsecured         109.00           NA           NA             0.00        0.00
 SKO Brenner American, Inc.        Unsecured          60.00           NA           NA             0.00        0.00
 Social Security Administration    Unsecured      6,000.00            NA           NA             0.00        0.00
 Southwest Orthopedics, S.C.       Unsecured         124.00           NA           NA             0.00        0.00
 Springleaf Financial Services     Secured        3,122.00       1,989.63     1,989.63            0.00        0.00
 Village of Skokie                 Unsecured          79.00           NA           NA             0.00        0.00
 Webbank/Fingerhut                 Unsecured      1,174.00            NA           NA             0.00        0.00
 Wells Fargo Bank                  Unsecured            NA       1,022.54     1,022.54            0.00        0.00
 Wells Fargo Bank                  Secured        5,054.73       5,054.73     5,054.73         680.00         0.00
 Wells Fargo Bank                  Secured        1,692.14       1,692.14     1,692.14            0.00        0.00
 Wells Fargo Bank                  Secured       35,396.00     34,097.13     34,097.13            0.00        0.00
 Wffnatbank                        Unsecured      5,966.00            NA           NA             0.00        0.00


 Summary of Disbursements to Creditors:
                                                                Claim           Principal                Interest
                                                              Allowed               Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                   $34,097.13               $0.00                  $0.00
       Mortgage Arrearage                                  $1,692.14               $0.00                  $0.00
       Debt Secured by Vehicle                             $1,989.63               $0.00                  $0.00
       All Other Secured                                   $5,054.73             $680.00                  $0.00
 TOTAL SECURED:                                           $42,833.63             $680.00                  $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                              $0.00                 $0.00               $0.00
        Domestic Support Ongoing                                $0.00                 $0.00               $0.00
        All Other Priority                                      $0.00                 $0.00               $0.00
 TOTAL PRIORITY:                                                $0.00                 $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                              $31,975.05                  $0.00               $0.00




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 Disbursements:

         Expenses of Administration                               $733.45
         Disbursements to Creditors                               $680.00

 TOTAL DISBURSEMENTS :                                                                       $1,413.45


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/24/2015                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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